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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


             UNITED STATES OF AMERICA               :
                                                    :
                                                    :
                   v.                               :    CRIMINAL ACTION NO.
                                                    :    1:10-CR-086-RWS
             Omar Cubillos,                         :
             Carlos Mendoza, and                    :
             Remberto Argueta,                      :

                         Defendants.



                                                ORDER

                   This case is before the Court for consideration of Government’s Motion

             to Exclude Co-Defendants’ Statements under Rule 807 [780]. The

             Government’s motion follows Notices by Defendants Argueta [778] [782] and

             Cubillos [786] of intention to introduce statements of co-defendants under

             Federal Rule of Evidence 807. Defendant Mendoza filed a Motion to Partially

             Adopt Government’s Motion to Exclude Statements [787]. After reviewing the

             record, the Court enters the following Order.

                   Rule 807, the residual hearsay exception, “is to be used very rarely, and

             only in exceptional circumstances.” United Tech. Corp. v. Mazer, 556 F.3d




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             1260, 1279 (11th Cir. 2009) (internal quotations omitted). Hearsay evidence is

             admitted under Rule 807 only when “certain exceptional guarantees of

             trustworthiness exist.” Id.; see also Fed. R. Evid. 807(a)(1). Here, the co-

             defendants’ statements are self-exculpatory and therefore lack the requisite

             level of trustworthiness. See Mazer, 556 F.3d at 1279 (statements by targets in

             criminal investigations that implicate others and diffuse and mitigate declarant’s

             own culpability lack guarantees of trustworthiness); see also United States v.

             Puerto, 2010 WL 3191765, at *6 (11th Cir. Aug. 12, 2010) (“[T]he statements

             here are not worthy of trust because of their very nature as exculpatory

             statements.”).

                   Therefore, the Government’s Motion to Exclude is GRANTED.

                    SO ORDERED this 20th day of September, 2012.




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                                                    RICHARD W. STORY
                                                    UNITED STATES DISTRICT JUDGE




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